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uNlTED sTATEs oF AMERch C\f§;‘§»§§ O._-_ § §§MS

Plaintiff

VS.
CR. NO. 04-20314-D

V|CK|E HERRON

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju ne 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to the second week of the
August rotation calendar (August 8, 2005 at 9:00 a.m.) No further report date is
required.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing foradditional time
to prepare outweigh the need for a speedy trial.

lT is so oRDEREo this 42 day or July, 2005.

 

UN|TED STATES D|STR|CT JUDGE

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UNITED TEATS DISTRIC COURT - WEEru\iST D"RITICT 0 TENNESSEE

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This notice confirms a copy of the document docketed as number 86 in
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July ]5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

